USCA Case #25-5122               Document #2119776             Filed: 06/09/2025      Page 1 of 1


                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________


No. 25-5122                                                      September Term, 2024
                                                                             1:25-cv-00698-TSC
                                                        Filed On: June 9, 2025 [2119776]
Climate United Fund, et al.,

                   Appellees

         v.

Citibank, N.A.,

                   Appellee

Environmental Protection Agency and Lee
M. Zeldin, in his official capacity as
Administrator, United States Environmental
Protection Agency,

                   Appellants


------------------------------

Consolidated with 25-5123

         BEFORE:           Pillard, Katsas, and Rao, Circuit Judges

                                              ORDER

      Upon consideration of the motion of movant Tarek Farag for leave to intervene
as appellant, it is

         ORDERED that the motion be denied.

                                             Per Curiam

                                                               FOR THE COURT:
                                                               Clifton B. Cislak, Clerk

                                                       BY:     /s/
                                                               Michael C. McGrail
                                                               Deputy Clerk
